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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF FLORIDA

                             Case No.: 0:19-cv-63111-MGC



  Edward-Marcus Griffin,

               Plaintiff,

        vs.

  Account Resolution Services,

               Defendant.


        MOTION TO WITHDRAW AND SUBSTITUTE COUNSEL FOR
                         PLAINTIFF

        NOW INTO COURT, comes ALAN GINSBERG, ESQ., counsel for

  Plaintiff, and hereby moves this Court for an order allowing him to withdraw as

  counsel of record and further requests that attorney Mitchell L. Fraley, Fraley Law

  LLC, 412 East Madison Avenue, Suite 1213, Tampa, FL, 33602, (813) 466-8381,

  mitchell@fraleyfirm.com, Of Counsel to Credit Repair Lawyers of America, be

  substituted as counsel for Plaintiff in this matter.

        WHEREFORE, Plaintiff’s counsel Alan Ginsberg and Mitchell L.

  Fraley respectfully request that this Court enter an order allowing attorney Alan

  Ginsberg to withdraw as counsel for Plaintiff and substituting attorney Mitchell L.

  Fraley as counsel for Plaintiff.
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                               Certification of Counsel

        Credit Repair Lawyers of America has notified Plaintiff of the withdrawal and

  substitution of counsel of record by telephone, email and/or first-class mail.

        August 11, 2020

                                                Respectfully submitted,

                                                By: /s/ Alan Ginsberg
                                                Alan Ginsberg, Esq.
                                                Florida Bar No. 0449385
                                                8000 West Drive, Suite 515
                                                North Bay Village, FL 33141
                                                Phone: (800) 476-3617
                                                Facsimile: (646) 304-9636
                                                Email: alan@aginslaw.com
                                                Attorney for Plaintiff,
                                                Edward-Marcus Griffin


                                                And

                                                By: /s/ Mitchell L. Fraley
                                                Mitchell L. Fraley
                                                FL Bar No. 0132888
                                                Fraley Law LLC
                                                412 East Madison Street
                                                Suite 1213
                                                Tampa, Florida 33602
                                                Phone: (813) 466-8381
                                                Email: mitchell@fraleyfirm.com
                                                Substitute Attorney for Plaintiff,
                                                Edward-Marcus Griffin
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                                Certificate of Service

        I, Alan Ginsberg, hereby state that on August 11, 2020 I served a copy of the

  within pleading upon all counsel and parties as their addresses appear of record via

  email through the court’s CM/ECF system and that I served Plaintiff by first-class

  mail and email.

                                        /s/ Alan Ginsberg
